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                           ?~          l.t
                                                                               EXHIBIT A

                                  CUSTOMARY AI D COMPARABLE COMPENSATION DISCLOSURES WITH FEE APPLICA~ITIONS

                                             (See Guidelines C.3. for definitions of terms used in this Exhibit.)

                                                                                                                 BLENDED HOURLY RATE
                                      CATEGORY OF
                                       TIMEKEEPER                                   ~        BILLED OR COLLECTED                         BILLED
                    (using categories already maintained by the firm)
                                                                                        Firm or offices for preceding year,       in this fee application
                                                                                             excluding bankruptcy

       Delete       Sr.JEquity Partner/Shareholder                                                     $950.00                                              $921.27
                                                                                    i
       Delete       Of Counsel                                                      ~                  $800.00                ~                             $727.65
                                                                                                                                                                        Case 15-11880-BLS




       Delete       ~ Associate                                                                       $525.fl0                                              $395.00

       Delete        Paralegal                                                                         $300.00                                              $302.34

       Delete       ~ Law Library Director                                                             $325.00                ~                               $0.00
                                                                                                                                                                        Doc 816-2




       Delete       other Case Management Assistant                                                    $225.00                                              $225.00

        Add          Click Add button to add additional timekeeper category

                     Ali timekeepers aggregated                                                                                                             $591.68,,
                                                                                                                                                                        Filed 02/19/16




  Represents approximate blended hourly rate. Nora-estate work for PSZ&J represents a de minimis amount of the Firm's revenues as the Firm's engagements are
primarily on behalf of debtors, official committees, and other estate-billed constituencies. For the fiscal year ending 2013, non-estate work represented
approximately 1% of the Firm's revenues. in 2014, non-estate work represented approximately 3-4% of the Firm's revenues, and in 2015, it is expected that non-
estate work will represent approximately 2-3°l0 of the Firm's revenues.

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 Applicant's Name:    Pachulski Stanq Ziehl &Jones LLP
 Date of Application: 02/19/2016
 Interim or Final:    Interim

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